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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA, et al.,

                 Plaintiff,

          v.                                       Case No. 1:20-cv-03010-APM

  GOOGLE LLC,

                 Defendant.


                         ORDER GRANTING
     MOTION FOR ADMISSION OF ALFRED C. PFEIFFER, JR. PRO HAC VICE

       The Court has reviewed Apple Inc.’s motion for admission pro hac vice.         Upon

consideration of that motion, the Court grants attorney Alfred C. Pfeiffer, Jr. pro hac vice

admission to this Court.

       IT IS SO ORDERED.



 Dated:
                                                           Amit P. Mehta
                                                     United States District Judge
